Case 1:20-cv-04438-DLC Document 64-4 Filed 12/01/20 Page 1 of 4




                    Exhibit no. 4
Article 40 of Law no. 1/84 of June 13, 1984
        Case 1:20-cv-04438-DLC Document 64-4 Filed 12/01/20 Page 2 of 4




Article 40 of Law no. 1/84 of June 13, 1984

Notwithstanding all other provisions, the Central Bank and those working at the Central Bank
are subject only to the special legal and regulatory provisions governing its business.
Case 1:20-cv-04438-DLC Document 64-4 Filed 12/01/20 Page 3 of 4
Case 1:20-cv-04438-DLC Document 64-4 Filed 12/01/20 Page 4 of 4
